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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

TARLA MAKAEFF, on Behalf of Herself and
All Others Similarly Situated,

Plaintiff,
VS.
TRUMP UNIVERSITY, LLC, a New York
Limited Liability Company, and DOES 1 through
50, inclusive,

Defendants.

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Plaintiff Tarla Makaeff (Plaintiff), by and through her attorneys, brings this action on
behalf of herself and all others similarly situated against Trump University, LLC and DOES 1
through 50, inclusive (collectively “Defendant,” "Trump University” or "Trump"). Plaintiffhereby
alleges, on information and belief, except as to those allegations which pertain to the named
Plaintiff, which allegations are based on personal knowledge, as follows:
NATURE OF THE ACTION

1, Trump University markets itself as a University driven by the mission to “train,
educate and mentor entrepreneurs on achieving financial independence through real estate
investing.” It is anything but. In fact, rather than serving its students as a university or college,
Trump University is more like an infomercial, selling non-accredited products, such as sales
workshops, luring customers in with the name and reputation of its founder and Chairman,
billionaire land mogul Donald J. Trump. Trump and his so-called University promise
“mentorships,” urging consumers that it’s the “next best thing” to being Donald Trump’s next
"Apprentice." But as class members quickly find out, all Trump University provides is empty
promises. The primary lesson Trump University teaches its students is how to spend more money
buying more Trump seminars.

2. Plaintiff and class members attended Trump University’s real estate. investing
classes, were promised a “complete real estate education,” a “one year apprenticeship,” a one-on-
one mentorship, practical and fail-safe real estate techniques, a “power team” consisting of real
estate agents, lenders, personal finance managers, property managers and contractors, and were
assured that although the seminars were costly, they would make the money back in their first real
estate deal, and could make up to tens of thousands of dollars per month or more. Plaintiff and
class members did not receive what they bargained for.

3. Instead of a complete real estate education, students merely received an
“infomercial” pushing additional seminars or workshops they were told they would need to take to
succeed. The “one year apprenticeship” they were promised was actually just a 3-day seminar, the

one-on-one year-long mentorship consisted of no practical insights and no mentorship, but rather

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excursions to Home Depot and “mentors” who either recommend real estate deals that they stood to
benefit from financially, raising a conflict of interest, or quickly disappeared and failed to return
calls.

4, Trump University representatives also told students during the 3-day seminar to
raise their credit card limits 2-4 times during the break for “real estate transactions,” and had
students prepare detailed financial statements, presumably for real estate purchases, when in fact,
Trump’s real reason for this was to assess how much money each student had to spend on the next
Trump seminar, and to persuade the students to use their increased credit limit to purchase the
Trump Gold Program for $34,995.

5. Plaintiff thus brings this class action on behalf of herself and all other similarly
situated consumers who purchased seminars, workshops, mentorships, retreats and/or programs
(collectively "Seminars") from Trump University throughout the United States, asserting claims
under California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seg. CUCL” or
“817200”); the Consumer Legal Remedies Act, Cal. Civ. Code § 1750 et seg. (““CLRA”); the False
Advertising Law, Cal. Bus & Prof. Code § 17500 et seg. (“FAL” or “17500”); Breach of Contract;
Breach of the Covenant of Good Faith and Fair Dealing; Money Had and Received, Negligent
Misrepresentation; Fraud; and False Promises. Plaintiff seeks damages and equitable relief on
behalf of the Class, which relief includes, but is not limited to, the following: refunding Plaintiff
and class members the full amount paid for Trump University Seminars, an order enjoining Trump
from falsely marketing and advertising its Seminars, costs and expenses, including attorneys’ fees
and expert fees, and any additional relief that this Court determines to be necessary to provide
complete relief to Plaintiff and the Class. |

JURISDICTION AND VENUE
6. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1332 and 1367,
because the Plaintiff resides in California and is therefore diverse from the Defendant Trump
University who resides in New York. The Court has supplemental jurisdiction over Plaintiff's state

law claims pursuant to 28 U.S.C. §1367(a).

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7. This Court also has original jurisdiction over this action under the Class Action
Fairness Act of 2005, 28 U.S.C. §1 332(4)(2) (“CAFA”), as tothe named Plaintiff and every member
of the Class, because the proposed Class contains more than 100 members, the aggregate amount in
controversy exceeds $5 million, and members of the Class reside across the United States and are
therefore diverse from Trump University.

8. This Court has personal jurisdiction over Trump University because itis authorized
to conduct business in California, it has significant minimum contacts with this state, and/or Trump
University otherwise intentionally availed itself of the laws and markets of California through the
promotion, marketing, and advertising of its Seminars in this state.

9. Venue is proper in this District pursuant to 28 U.S.C. §1391 (a)(2), because a
substantial part of the events or omissions giving rise to Plaintiffs claims occurred in this District.
Venue is also proper under 28 U.S.C. $1391 (a)(3), because Trump University is subject to personal
jurisdiction in this District as it transacts a substantial amount of its business in this District. Indeed,
Trump University has offered and continues to offer numerous Seminars in San Diego, California.
Plaintiff is filing concurrently herewith an affidavit stating facts showing that this action has been
commenced in a proper county pursuant to Cal. Civ. Code § 1780(c).

PARTIES

10. Plaintiff Tarla Makaeff resides in Corona Del Mar, California. During the class
period, in early August, 2008, Plaintiff was introduced to Trump University through a friend who
attended the free introductory seminar and invited her to attend the three-day Trump University
"Fast Track to Foreclosure Training” workshop for approximately $1,495.00. During the three-day
workshop, Plaintiff was told to raise her credit card limits so she could enter into “real estate
transactions.” However, at the end of the session, Trump University told Plaintiff and the other
Seminar attendees to use that credit to purchase an additional Trump “Gold” seminar for $34,995.
Based on Trump University's numerous misrepresentations, on or about August 10, 2008, Plaintiff
enrolled in Trump University's "Trump Gold Elite" Program (“Trump Gold Program”) for $34,995,

plus the variable APR finances charges, interest fees, and late fees she has to pay her credit card

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company.. Plaintiff ultimately spent nearly $60, 000 on Trump University Seminars, and/or
seminars related to or endorsed by Trump University, over the course of one year.

11. Defendant Trump University, LLC is a New York limited liability company
registered in New York. Its executive offices and company headquarters are located in New York,
New York. Donald J. Trump is the chairman of Trump University, as well as the chairman and
president of The Trump Organization. Trump University conducts a substantial amount of business
throughout the State, including marketing, advertising, and hosting Seminars in San Diego County
and all over California. : |

12. The true names and capacities of defendants sued herein as Does 1 through 50,

inclusive, are presently unknown to Plaintiff who therefore sues these defendants by fictitious

‘names. Plaintiff will amend this Complaint to show their true names and capacities when they have .

been ascertained. Each of the Doe Defendants is responsible in some manner for the conduct alleged
herein.
DEFENDANT’S UNLAWFUL CONDUCT

13. Trump University is an "education" company owned and founded by real: estate
tycoon Donald J. Trump, Sr., as part of the Trump Organization. It offers courses inreal estate, asset
management, entrepreneurship and wealth creation. It is not an accredited University.

14. Trump University lures consumers in witha free introductory Seminar, which turns out
to be nothing more than an infomercial used to “up-sell” and persuade students to purchase its $1,495
“one year apprenticeship” course. If students purchase the $1,495 course, Trump University continues
using misleading, fraudulent and predatory practices to convince students to purchase Trump
University’s $35,000 “Gold” course. Even then, after investing nearly $36,500, students still do not
receive the information or training they were promised. The three “tiers” to the Trump University

program are as follows:

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1 || First tier: the Free Introductory Course

2 15. Trump University advertises extensively in local media and online, such as online
3 |} local newspapers, on Facebook, and radio for “Free” introductory courses, which take place in cities
4 || across the country. In marketing the Trump University program, Donald Trump claims: "I'm going
> |Ito give you 2 hours of access to one of my amazing instructors AND priceless information ... all for
© ||FREE."’ An advertisement in the L.A. Times, for example, quoted Donald Trump as saying that
"investors nationwide are making millions in foreclosures... and so can you!" It also promised two
hours of "priceless information . . . all for free."? Other advertisements urged consumers to “Learn

9 |! from the Master” — Donald Trump,” that “It’s the next best thing to being his Apprentice,” and told

 

 

10 |} consumers that they would learn “insider success secrets from Donald Trump.”
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INVITATION FROM TRUMP UNIVERSIT TY,
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V7 16. At the free seminar, prospective customers are greeted by a large screen projector
18 and two tall banners with Donald Trump’s photo on them. The speaker, who is following a Trump
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' See L.A. Times, “Trump Spins in Foreclosure Game,” by David Lazarus, Dec. 12, 2009,
71 http://www. latimes.com/business/la-fi-lazarus 12dec12,0,7835610.column

22 See L.A. Times, “Trump's a grump about column on his 'priceless' tips” by David Lazarus, Dec. 16,
2009, http://www. latimes.com/business/la-fi-lazarus16dec16,0,1670633.column. When L.A. times
93 || reporter David Lazarus attended the Pasadena Hilton Trump seminar, he: “learned by attending the
seminar, the event was a two-hour sales pitch for a three-day workshop that would cost people

 

 

24 $1,495.” Id.
3 Screen shot from http://www.trumpurealestate.com/market-Phoenix.html?cid=726078 (last updated
25
2/3/2010).
26 |I4 Screen shot from http://www.trumpuniversity.com/ (last updated 2/3/2010).
27 || Screen shot from http://www.trumptactics.com/ (last updated 2/3/2010).
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1 || University script, begins addressing the audience with scare tactics. A large portion of the audience
2 || is typically comprised of senior citizens, and the speaker plays on their fears, asking “How many of
3 |] you lost a lot of your 401k investment in the market? How many of you are retired or want to
4 |) retire? How many of you want to leave a legacy or property to your kids?”

5 17. | The speaker induces the audience to trust in the Trump name and “family” by
6 || walking through the history of the Trump Organization and Donald Trump’s “humble beginnings.”
7 || He tells the audience that 76% of all millionaires are created from real estate — that “anyone can do
8 |{ it,” and that “it’s not easy, but it’s simple if you know what you’ re doing, and we’ll teach you what

9 || you need to know.” He states that the mission of Trump University is to “train, educate and mentor

 

10 || entrepreneurs on achieving financial independence through real estate investing.”

 

 

YW Trump University: The Trump Organization:
2 A New Way to Learn 75 Years of Success
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Pe Et eC et - Pen Snre nN
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1 8 ‘ sal «c ‘ ”
18. The speaker emphasizes that on the television show, “The Apprentice,” Mr. Trump
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could only work with one person a year, so he created this University — not to make money for
20 ; . ; ae ; ‘
himself, but to teach others. With this apprenticeship program, the speaker claims, “Mr. Trump
21 ; ; ‘
takes you through an entire apprenticeship for one year.” The speaker emphasizes that “Trump
22 se oo hs . ;
University is owned, lock, stock and barrel by Mr. Trump — it’s his ‘baby,’ his company, designed
23 ae . ,
to help him accomplish his goal of leaving a legacy.” The presentation plays on consumers
24 ; . . ; ,
reliance on the Trump name, Trump’s Apprentice television show, the Trump reputation, Trump’s
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wealth and Trump real estate expertise:
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27 |\6 These and the following slides are from the free online introductory Trump seminar.
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19. The presentation claims that the real estate transactions taught are safe and
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conservative. The speaker encourages members of the audience, including the elderly, to cash out
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their 401Ks so they can supposedly make a higher return. He tells them, “this is by the numbers,
and the numbers don’t lie. This isn’t speculative. It’s a good idea.” These strategies will make you
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money — they are time tested strategies that have been in the Trump family for over 75 years. You
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can allegedly pay off your credit cards, pay off your cars, fully fund your retirement and send your
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kids to college.
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A Comprehensive Real Estate

14 ‘The Apprenticeship Program Education

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+ Ongoing Support:
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The Apprenticeship Program
One Year Program Tuition is $1,995

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20 20. The whole presentation is essentially an “infomercial,” designed to get members of
21 ||the audience to sign up for the so-called one year Apprenticeship Program, which is purportedly
22 ||going to be “A Comprehensive Real Estate Education.” However, what the “one year
23 || apprenticeship” program actually turns out to be is merely a three-day workshop plus a phone
24 ||number to call a “client advisor” for $1,495.

25 21. Trump University promises “12 months of training,” because “there’s no shortcut to
26 || success.” They also promise mentors who will be available for a full year. “Other people don’t
27 || have anyone to call, but you’ve got Trump. You'll call 40 Wall Street [Trump University], and

28 || they'll walk you through it.” They claim that after this seminar, “you’re going to be walking on

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Cloud 9 because you get it; you know so much.” The speaker says you can attend the first day and /
then decide if the course is right for you. Your “Satisfaction is 100% Guaranteed.” The speaker
even says he will give you his personal email; he wants that connection with you, so you can become
part of the Trump family.

Second Tier: the 1-year “apprenticeship” (actually a three-day infomercial)

22. One Year Apprenticeship — Defendant describes the second tier as a one year
“apprenticeship” that allegedly provides a, “comprehensive real estate education.” In actuality, it is.
merely a three-day infomercial to sell more Trump products. Trump University tells students at the
free seminar that this one-year apprenticeship is “all you need.” However, rather than teach students
actual real estate techniques and how to fill out the necessary contracts and forms (as promised in the
free seminar), the entire “apprenticeship” is a three-day long “infomercial” to “up-sell” students to
buy the Trump Gold Program for $34,995 to get a “full education.”

23. Inducing students to increase credit card limits - During the seminar, the speakers
demand that students raise their credit card limits by “4 times” their current limits on class breaks so
that they can be ready to immediately purchase property. The speakers also ask each student to fill
out a detailed financial statement, presumably for real estate investment purposes, and personally sit
down with each student to review and assess their financial situation under the guise ofhelping them -
-- in fact, they assess how much money each student has to spend on the next Trump seminar. At the
end of the workshop, Trump’s real reason for urging attendees to extend their credit limits becomes
clear: the Trump representatives ask the students to use their increased credit to purchase the next
level of buy-in, the Trump University “Gold program,” for $34,995.

24. Trump representatives don’t tell students that they are likely to incur finance charges,
interest fees and late fees by charging this expensive seminar on their credit cards. Trump also does
not tell students that by increasing their credit limits, they could damage their credit scores. Trump

representatives also never inform students that by “maxing out” their credit cards, their credit scores

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could drop even more significantly. In fact, when Plaintiff “maxed out” her credit | card, her
previously high credit score immediately dropped.

25. | Mentorship - Trump University promises students who purchase the $1 495 seminar
an “entire year apprenticeship” --“one full year of expert, interactive support” where “you will be
trained properly by the best.” But in actuality, students get only a three-day seminar and an 800-
telephone number to call. Trump does not provide the details, support or training the students need to
actually engage in the real estate transactions mentioned. Nor does it provide any mentorship.

26.  IMegal practices — Furthermore, the real estate practices touted by Trump University
during the seminar include transactions that are illegal in certain states, including California, such as
posting anonymous “bandit signs.” These are signs placed by the roadway that mimic yellow and
black road warning signs and say, “WE BUY HOUSES, 619-222-2222.”

27. Conflict of interest — As part of the $1,495 seminar, Trump University promises to
introduce students to a Trump “power team” of mentors, real estate agents, brokers, contractors,
attorneys and accountants, who are supposedly there to help the student make money in real estate.
However, these Trump “mentors” and power team members often guide the students toward deals in
which they have a personal financial interest at stake — creating a severe conflict of interest, so that the
mentors profit while the student does not.

28. Money back guarantee — students consistently complain that they have timely
requested refunds under Trump University's money-back guarantee, but that Trump University failed
to refund them their money.

Third tier — the $35,000 Mentorship Program

29. By the end of the $1,495 seminar, Trump University did not teach students practical

real estate techniques. Instead it merely gives them a high-pressure sales pitch to purchase another

program from Trump: the $34,995 “Trump Gold Program.” Plaintiff and other students were clearly

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reluctant to spend approximately $35,000 more on an additional program, after already paying Trump
nearly $1,500. However, Plaintiff and the other students relied on the speakers’ claims that they were
“guaranteed success” if they followed the techniques they would learn in the Gold seminar.

30. Trump University’s representatives told Plaintiff and class members that with the real
estate mentorship they would receive in the Trump Gold Program, they could create a real estate
investing business that could earn up to tens of thousands of dollars of monthly income, and
potentially much rriore.

31. | The same misrepresentations regarding the “on-going apprenticeship,” “hands-on
mentorship,” conflicts of interest with the mentors and “power team,” teaching of illegal real estate
practices, and failure to refund money timely requested also occurred during the Trump Gold
Program.

32. Mentorship — One of the biggest selling points of the Gold Program was the promise
ofa three-day Field Mentorship with real estate experts and investors. Trump University represented
to Plaintiff and class members that the value of this mentorship alone was worth $25,000. See Ex. A
(Contract for the Gold Program). Plaintiff and class members were told that they would receive
pticeless insight and information from these mentors who were experts in the real estate industry, who
would personally teach them what they would need to know. Instead, during the 3-day mentorship,
students typically spent two days looking at real estate properties (which they could have done witha ©
realtor for free; and were offered no unique insight or guidance), a half day at a local Home Depot
and lunch, and an hour or so discussing numbers. Mentors spent little to no time discussing the
contracts essential to the real estate transactions mentioned in the seminar. After the 3-days, the
mentors typically quickly disappeared, in complete contradiction to what was promised: an ongoing

mentor who would personally assist the student for an entire year.

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33. | During the Gold Program, there was still constant up-sell pressure to purchase various .
other Trump University affiliate programs and products, varying in price from $495 to $9,995.

34, Plaintiff and the other students in her class who signed up for the $34,995 seminar
were told that deals would now be coming their way via e-mail and that “these deals are starting to
POUR IN NOW.” However, few, if any deals came in, and those that did provided only minimal
positive cash flow, generally not worth enough to make the deal worthwhile, and certainly not the
“tens of thousands of dollars per month” promised by Trump.

35. Trump University promised students that it would give them the contracts they needed
to conduct various complex real estate transactions and teach them how to fill them out — they never
did. Even after the $35,495 program, and after numerous phone calls to Trump University, Plaintiff
and other class members were not instructed how to use the contracts they would need to conduct the
real estate transactions described.

Trump University receives D- rating from Better Business Bureau

36. In January, 2010, the Better Business Bureau gave Trump University a D-minus
rating. In addition, the New York Department of Education has recently demanded that Trump
University remove “University” from its title, insisting that the “use of the word ‘university’ by your
corporation is misleading and violates New York Education Law and the Rules of the Board of
Regents.””
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? See NY Daily News.com, “State Educracts Give Failing Grade to Donald Trump’s ‘Misleading’
Trump University, by Douglas Feiden, April 16, 2010, and CBS MoneyWatch.com, “Is Trump
University Flunking Out,” by Lynn O’Shaughnessy, April 19, 2010.

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Complaints from Numerous Trump University Students Nationwide
37. Tarla Makaeff is not alone in her complaints regarding Trump University’s
misrepresentations and unscrupulous conduct. Indeed, there are endless complaints nationwide on the

internet that echo Plaintiff's complaints, including, for example:

e This recent post on http://www.reviewopedia.com/trump-university.htm, from Susan in
Michigan was posted on April 11th, 2010: “We purchased a mentor program for $19,000 in
December 2008. We did not receive the promised materials or mentor service. We canceled
immediately, calling both Rochester NY & Boca Raton FL. Unfortunately we paid by check
and did not have a credit card company to help us get our money back. We have made
several call, emails, faxes, etc. We've been lied to, deceived, promised the person with
"authority" would call us back immediately (doesn't matter when you call, they are never in)
and told there was a glitch in their system and our refund was being processed. We still do
not have our refund and they continue to play the game. Does this sound like Donald
Trump is an honest man concerned with helping you build wealth?”

e Charles from Florida posted this on September 21, 2009, “I was told that after taking the
first 3 day seminar, which cost $1,500 I could go out start making deals. ... The only thing
they want you to do is sign up for the next seminar which can cost up to $35,000.”
http://www.reviewopedia.comtramp-university htm

e Joe from Florida posted this on September 18, 2009, “What a SCAM | attended the three
day seminar and really learned very, very little. [Their] goal is to talk you into joining the
next seminar, which can cost up to 35,000. They use almost Gestapo tactics to sign for this
seminar. Any questions you ask are never answered.” http:/Avww reviewopedia.comy/trump-

university htm

e L. Heard from Georgia had this to say on June 23, 2009, “I have been trying to get my
money back from attending one of the seminars and have yet to do so. My contract stated
that I had 3 days after date of purchase to cancel and I did so in 1 day. | attended the
seminar on March 22, 2009 and here it is June 22, 2009 all they can tell me is that they see
that I have done all that I was supposed to do but they don't know what is taking so long to
refund my money.” http:/Avwaw.reviewopedia. com/trump-university.htm

e Dorla from California posted this on, June 10, 2009, “Trump University is a major
disappointment. They charged me $35,000 for the program, which I would never have
paid if I had known that the info given to me was not true. | based my decision on that
info! They would not return even a portion of my money after several long and tearful
conversations, even after agreeing the info was outdated and they would have to do
something about it. I would strongly suggest never using them. There are other gurus out
there that are honest and don't cost as much !!! J can't believe Donald Trump would allow
such mis-behaving to be associated with his name, Run fast and keep running where they
are involved!” http:/Awww.reviewopedia.com/trump-ummyversity.htm

CLASS ACTION COMPLAINT

 

 

 
 

 

 

   

 

 

 

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1 e Yu from Los Angeles posted this on March 25, 2009, “I signed up the tax lien products & as
. the organization promised "Full Money.Back Guarantee” within 10 days. I called at least 10
2 times the organization & they keep on telling me different time frame & story about why
3 they delayed to refund me. It's been the 25th business days, have NOT yet received my
refund. I checked BBB & found they did have a lot of fraud issues.”
4 hitp:.//www.reviewopedia.comtrump-university htm
5 e Linda from Newark, California had this to say on March 6, 2009, “I took several Trump
6 classes and spent well over $15,000.... They give you a ton of information and then leave
you high and dry. No support what so ever!!!!” http://www reviewopedia.com/trump-
7 university htm
8 e Rhonda from Georgia claimed her identity was used by Trump University without her
9 permission (post from September 30, 2009), “Just had someone write me and call that said
that they graduated from Trump University's 3 day course and was led to me by James
10 Harris who said that I was a student there. Okay - that's not true. Then, he also said that
when I came to him as a student I was almost broke and that the course made me successful.
11 Wrong again! I have never been a student of his or the school I and never been broke. That
12 is slander and I would watch someone who makes up stuff to make their product look better.
~ Hopefully the success of the school is not based on lies. Whereas I am successful - #1 Real
13 Estate Agent in Georgia, 6 years in a row, it was not because of Trump University or James
Harris which I had no idea existed until it was brought to my attention”
14 hitp:/Awww. reviewopedia.comytruinp-uniyersity. htm
15 e On December 13, 2009 another consumer that was scammed by Trump University wrote,
16 “Do not trust Trump University! This company is awell designed scam using the name of
Donald Trump who apparently doesn't care how much more Americans get hurt this year
17 and the next ones by a weak economy. Instead he's using it to take advantage of you. They
will do whatever (and I mean, whatever) it takes to get you to open your pockets to invest in
18 their company. I am sure there are tons of people like me who have lost precious money
19 because of them. So if you have to borrow and have no credit to do this or even if you have
good credit, don't! They will rob from you...this is modern day robbery...and then they will
20 place in a very dangerous position. You could lose equity in your house if you have to
borrow to attend, you could damage your credit ifyou have to max out your credit cards, or
21 you could even lose your house like so many Americans because that last bit of money that
was supposed to get you through another six months or year for mortgage payments is now
22 gone based ona false promise! The scam in all of this is that the information always skims
93 the surface. No matter the class, you get loads of advice on buying more classes, not advice
on execution. They will never tell you that it takes 1000 steps to do something and instead
24 magnify the few positive points of real estate. Don't be fooled by them or their grand
statements of flipping a house with 10 hours of work. They are full of it! I know because I
25 have been throughit....Oh and when they tell you they'll be there for you, they'll scram as
soon as they've collected the dough. The instructors are there for their 3 day classes and
26 then off to the next city to convince more unsuspecting prospects to drop 15-35G's....
17 http://trump-university pissedconsumer.comtrump-university-reviews-
20091213164344 html
28
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CLASS ACTION COMPLAINT

 

 

 

 
 

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On January 20, 2010, another consumer wrote, “Trump U preys on the elderly. This is the
biggest SCAM I've ever seen! My 82 year old father went to a free seminar promising to
make him rich through real estate. The seminar was solely for the purpose of upselling
him into attending a $1500 three day workshop by promising him they would teach him
how to buy and sell foreclosures for huge profits (which is totally unrealistic because the
vast majority of foreclosures today are because people are upside down in their homes)

Anyway, he goes to the 3 day workshop and when he comes home we find out that they
pressured him into spending $35k MORE! I don't care who you are there is no real estate
course worth $35k. Then he proceeds to tell us how the majority of people there were
SENIORS like him! These aren't long term investors here, these are people being tricked
into thinking they can make a quick profit! If this isn't the definition of preying on the
elderly then I don't know what is.” hitp://www.moneystance.com/trump-umiversity-Teviews

oO CO YN DB An Fe WD WY

e On December 13, 2009 another consumer stated that, “Trump University and their staff
should be ashamed of themselves! They RUINED my credit!!! They told me I would get
my large investment back in my first real estate deal because I would have access to

 

 

 

 

‘0 amazing mentors and course content. I did what they told me in all of the courses and it was
11 nonsense! J maxed out my credit cards because I thought Donald Trump wouldn't have such
a sorry excuse for a school just to make more money. But he is a greedy man so I should
12 have known. Be aware that when they tell you to increase your credit limit to purchase
3 real estate it's really to scam you out of tons of money that you've worked so hard for.”
http:/Avww.complaintsboard.com/complaints/trump-university-c288699.html
14
e On November 3, 2008, another victim stated, “At the retreat, the only three things that
15 happened: they pre-qualify you for their $35, 000.00 GOLD PACKAGE, [2] they ask you to
16 call all your credit card companies and request a credit limit increase (so you can pay for
the 35K), then during three days the sell you over and over their mentoring services and
17 keep telling you that the information you are waiting to hear is coming... three days later
nothing worth is mention. Their material is completely worthless. 100+ pages of content-
18 empty power point print outs. I requested a refund, both in person and in writing and was
denied....BE AWEARE, THESE ARE MASTERS OF THE SCAM...”
19 http:/;www.complaintsboard.com/complaints/tramp-university-cl 18292.html
20
© On February 27, 2009, Patt from Sacramento, California wrote: “Trump University real
21 estate programs are ALL scams. | paid the $1500 for the 3 day course which turned out to
be three days of them trying to get me to sign up for the $21,000 gold course. They ask for
22 all your financial information (which fortunately I refused to give them) and then spend the
3 remaining "class time” pulling people out to hard close them on the gold program and
private coaching.” http://www ripoftreport.cony/seminar-programs/tramp-universi ty/tramp-
24 university-rip-off-of-th-99exd him
25 e On June 19, 2008, Truth from Brooklyn, New York stated: “I wished I saw this site
26 BEFORE I fell for paying the $1,500 at the free seminars. they will take your money and
the 3 day event will be used to make you buy more stuff. and even after you buy more
27 stuff, they will sell you more. am not sure how much trump is making from this. But, 1 do
38 feel that if he know what bull they are teaching, he would not authorize to use his name. as

you may know, this is the same things that other companies are doing to sell you more and

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1 more training. the only difference in this situation is that they use trump name.”
http:/Avww .ripoffreport.com/seminars/trump-university-tru/truamp-university-trump-
2 seminar-peo44.htm
3
e On March 20, 2008, another consumer from Las Vegas, Nevada that was scammed by
4 Trump University wrote: Trump University will rip you off.... They do not teach you what
they say they will teach you and what you have paid for. They also do not deliver what they
5 say they will deliver and if you ask for a refund on something that you have not received
6 they will not give it to you. All that I can say is do your research.”
http:/Awww.ripoffreport.com/seminar-programs‘trump-university/trump-university-is-a-
7 scam-w-ebaSse. htm .
8 e On August 7, 2007, a real estate investor from New York, New York wrote: “Trump
9 University is the biggest scam EVER!!! After speaking with most everyone employed there
only ONE yes, ONE person on their staff invests in real estate. | have tried to blog several
10 times asking if Mr. Michael Sexton (President of Trump University) has properties and I
have never received a response. I paid over $20,000.00 after they told me that I would get
11 personalized service and all I got was a box filled with books to read and terrible software
1D that costs under $500.00 when buying from Barnes & Noble. The live events were a total
joke and even the main presenter there barely has investing experience. I fortunately have
13 enough money to not go broke because of them but almost everyone there took out loans or
maxed out their credit cards to get this trash service. It is just like every other late night
14 infomercial and am disgusted by Mr. Trump being affiliated or supporting this program. I
have talked to several different people there because each person I get handed off to quits or
15 got fired from the organization. They don't know what they are doing and are preying on
16 the weak who are just trying to make it in life!!!!!!!! SHAME ON YOU MR TRUMP AND
TRUMP UNIVERSITY....” _ http:/‘wew.npoffreport.conyseminar-programs;tramp-
17 university/tnump-university-scam-to-steal-s3c7s.htm
18 PLAINTIFF'S FACTS
19 38. Plaintiff Tarla Makaeff purchased the three-day Trump University "Fast Track to
20 Foreclosure Training” workshop for approximately $1,495. Two people were permitted to attend
21 for the $1,495 price, so Plaintiff attended with a friend and split the cost. During the three-day
22 workshop, Plaintiff was told to raise her credit card limits four times so she could enter in to “real
23 estate transactions.” However, at the end of the session, Trump University revealed its real reason
24 for pushing Plaintiff and class members to extend their credit limits: to use that credit to purchase
25 an additional $35,000 Trump seminar. Based on Defendant's numerous misrepresentations, on or
26 about August 10, 2008, Plaintiffenrolled in Trump’s Gold Program for $34,995, plus the variable
27 APR finances charges, interest fees, and late fees she had to pay her credit card company.
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39. The day Plaintiff signed up for the $34,995 program, Taines Harris immediately told
Plaintiff that he would now be personally available to her by phone and e-mail, and shortly thereafter
e-mailed to her “we can do a ton together.” Then, she never heard from him again.

40. “Guarantee” that her first deal would pay for her $35,000 seminar - While
Plaintiff was on the fence about spending the additional money, Trump University speaker Tiffany
Brinkman persuaded Plaintiff to sign up by “guaranteeing” Plaintiff that her first real estate deal
would earn her in the ballpark of $35,000, so that she could immediately pay off her Trump
University debt, leaving only profits for the future. Although Plaintiff signed up for the seminar in
reliance on this representation, it could not have been farther from the truth — Plaintiff participated in
no teal estate deals, and never made any money.

41. Mentors- Plaintiff was assigned two mentors, and initially, the mentors would return
calls, but would only speak to Plaintiff for 2-3 minutes, offering no practical advice. After that,
although they were supposed to provide “mentorship” to Plaintiff for a full year, they mostly
disappeared. After Plaintiff complained about the lack of assistance provided by her assigned
mentors, Rick McNally and Mike Kasper, Tad Lignell, the mentor with the “power team,” offered to
help her personally, but then engaged in misappropriate conduct and misadvised her regarding a
property in Las Vegas in which he had a personal financial interest.

42. After spending approximately $60,000 over the course of an entire year to attend
numerous Trump University related or endorsed seminars, only two real estate deals ever came to
Plaintiff, and Plaintiff did not accept either, as both were flawed and appeared unprofitable.

43. Inthe first deal offered to Plaintiff, Trump mentor Tad Lignell introduced Plaintiffto a
teal estate agent, Noah Herrera of Las Vegas regarding a property purchase in Las Vegas. Lignell did
not disclose to Plaintiff that he had a financial interest in referring Trump students to Noah Herrera.

The Power Team then misquoted comps to Plaintiff, Rather than making a profit on the deal, as she

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would have made if the comps had been correct, she would have likely suffered a 20% loss on the
transaction. When she discovered that the comps were incorrect and that she was likely tolose money
on the deal, she looked for a way out. As it turned out, Mr. Lignell’s protégé fraudulently and
illegally altered the real estate documents Plaintiffhad previously signed at the escrow office without
Plaintiff's authorization or approval. As a result of this illegal and fraudulent conduct, Plaintiff was
permitted to void the transaction, which she did.

44, The second, and only other, real estate transaction that came Plaintiff's way
involved a Houston property. After being told by Trump representatives that the deals “are staring
to POUR IN NOW,” the only deal that came in was a Houston deal. It was outside of Trump
University’s recommended guidelines for real estate investing, as it would provide only $40/month
positive cash flow, and Trump’s own representative, Stephen Gilpin instructed Plaintiff never to
accept a deal under $100/month positive cash flow. Furthermore, this potential deal raised an
inherent and improper conflict of interest, as it was referred by a partner (Mike Kasper) to the Trump
mentor, Rick McNally, who stood to financially benefit from the deal.

4S. Bandit signs - Furthermore, certain real estate practices that Trump University
taught Plaintiff and other class members during the Seminars included transactions that are illegal in
California and other states, such as posting anonymous “bandit signs.” These are the signs that are _
posted by the side of the roadway, mimic black and yellow road warning signs and say, “WE BUY
HOUSES, 619-222-2222.” Plaintiff was posting bandit signs, as taught by the Trump seminars she
attended, and had no idea they were illegal until she was contacted by the District Attorney’s Office
and told that those techniques could subject her to hundreds of thousands of dollars in fines, a
misdemeanor charge, and up to six months in jail. As a result, she was required to retain a criminal
attorney. .

46. Plaintiff’s experiences with Trump University are typical of the class and the many
hundreds (if not thousands) of other Trump University students who have registered their complaints

online and with Defendant.

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47. Plaintiff has suffered i injury in fact and loss of money or property. She has been .

damaged by, inter alia, the amounts she has paid for Trump University Seminars.
CLASS ALLEGATIONS

48. Plaintiff brings this class action on behalf of herself individually and all others
similarly situated, pursuant to Rule 23(b)(2) and (b)(3) of the Federal Rules of Civil Procedure.

49. The proposed class consists of all persons who purchased Seminars from Trump
University throughout the United States from April 30, 2006 to the present. Excluded from the Class
are Trump University, its affiliates, employees, officers and directors, persons or entities that
distribute or sell Trump University products or programs, the Judge(s) assigned to this case, and the
attorneys of record in this case. Plaintiff reserves the right to amend the Class definitionif discovery
and further investigation reveal that the Class should be expanded or otherwise modified.

50. This action is properly brought as a class action for the following reasons:

(a) the proposed class.is so numerous and geographically dispersed throughout
the United States that the joinder of all class members is impracticable. While Plaintiff does not
know the exact number and identity of all class members, Plaintiffis informed and believe that there
are thousands, if not tens or even hundreds, of thousands of class members. The precise number of
members can be ascertained through discovery;

(b) the disposition of Plaintiffs and proposed class members’ claims in a class
action will provide substantial benefits to both the parties and the Court;

(c) the proposed class is ascertainable and there is a well-defined community of
interest in the questions of law or fact alleged herein since the rights of each proposed class member
were infringed or violated in the same fashion,

(d) there are questions of law and fact common to the proposed class which
predominate over any questions that may affect particular class members. Such common questions
of law and fact include, but are not limited to: |

(1) Whether Trump University’s conduct was unlawful, unfair or
fraudulent;

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Gi) Whether Trump University’s advertising is likely to deceive the
public; —_
(11) Whether Trump University’s conduct was false, misleading or likely
to deceive; .
(iv) Whether Trump University violated the UCL;
(v) Whether Trump University violated the CLRA;
(vi) Whether Trump University violated the FAL;
(vii) Whether Trump University has received funds from Plaintiff and

class members that they unjustly received;

(vill) Whether Trump University is in breach of contract;
(ix) Whether Trump University is in breach of the implied covenant of
good faith and fair dealing;
(x) Whether Trump University is liable for intentional and/or negligent
musrepresentations;
(x1) Whether Trump University is liable for making false promises,
(xil) Whether Plaintiffand proposed class members have been harmed and

the proper measure of relief;

(xili) Whether Plaintiff and proposed class members are entitled to an
award of punitive damages, attorneys’ fees and expenses against Defendant; and

(xiv) Whether, as aresult of Defendant’s misconduct, Plaintiffis entitled to
equitable relief, and if so, the nature of such relief;

(e) Plaintiff's claims are typical of the claims of the members of the proposed
class. Plaintiff and all class members have been injured by the same wrongful practices of
Defendant. Plaintiffs claims arise from the same practices and conduct that give rise to the claims of
all class members and are based on the same legal theories;

(f) Plaintiff will fairly and adequately protect the interests of the proposed class
in that she has no interests antagonistic to those of the other proposed class members, and Plaintiff

has retained attorneys experienced in consumer class actions and complex litigation as counsel;

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() “A class actionis superior to other available methods for the fair and efficient
adjudication of this controversy for at least the following reasons:

(i) Given the size of individual proposed class member’s claims and the
expense of litigating those claims, few, if any, proposed class members could afford to or would
seek legal redress individually for the wrongs Defendant committed against them and absent
proposed class members have no substantial interest in individually controlling the prosecution of
individual actions;

(11) This action will promote an orderly and expeditious administration
and adjudication of the proposed class claims, economies of time, effort and resources will be
fostered and uniformity of decisions will be insured; and

(iii) Without a class action, proposed class members will continue to
suffer damages, and Defendant’s violations of law will proceed without remedy while Defendant
continues to reap and retain the substantial proceeds of its wrongful conduct.

(iv) Plaintiff knows of no difficulty that will be encountered in the
management of this litigation which would preclude its maintenance as a class action.

51. Defendant has, or has access to, address information for the Class members, which
may be used for the purpose of providing notice of the pendency of this class action.

‘52. Plaintiff seeks damages and equitable relief on behalf of the proposed class on
grounds generally applicable to the entire proposed class.

FIRST CAUSE OF ACTION
(Violations of California Business and Professions Code § 17200)

53. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

54. California Business & Professions Code § 17200 prohibits acts of unfair
competition, which means and includes any “unlawful, unfair or fraudulent business act or practice”
and any act prohibited by Cal. Bus. & Prof. Code § 17500.

55. Defendant violated Cal. Bus. & Prof. Code § 17200’s prohibition against engaging

in an “unlawful” business act or practice by, inter alia, making the material misrepresentations

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regarding its Seminars as set forth more fully elsewhere in this Complaint, in violation of Cal. Civ.
Code §§ 1572 (actual fraud), 1573 (constructive fraud), 1709 and 1710 (deceit), 1750 et seq. (the
CLRA), Cal Bus. & Prof. Code §17500 (false advertising), and the common law, including the

|| breach of contract, breach the covenant of good faith and fair dealing and breach of the duty to

disclose.

56. Plaintiff reserves the right to allege other violations of law which constitute other
unlawful business acts and practices. Such conduct is ongoing and continues to this date.

57. Defendant violated Cal. Bus. & Prof. Code § 17200's prohibition against engaging in
a"fraudulent” business act or practice by, inter alia, disseminating, through common advertising,
untrue statements about its Seminars that have a tendency to mislead the public and making
numerous common material misrepresentations aboutits Seminars with the intent to induce reliance
by consumers to purchase Defendant's Seminars. Furthermore, Defendant violated § 17200 by
issuing misrepresentations and untrue statements at the Trump University Seminars.

58. The foregoing conduct also constitutes “unfair” business acts and practices within
the meaning of Cal. Bus. & Prof. Code § 17200. Defendant's practices offend public policy and are
unethical, oppressive, unscrupulous and violate the laws stated. Defendant's conduct caused and
continues to cause substantial injury to consumers and their property, including Plaintiff and
proposed class members. The gravity of Defendant’s alleged wrongful conduct outweighs any
purported benefits attributable to such conduct. There were also reasonably available alternatives to
Defendant to further its business interests.

59. Plaintiff and Class members have suffered injury in fact and have lost money and/or
property as a result of Defendant's unlawful, fraudulent and unfair business practices and are
therefore entitled to the relief available under Cal. Bus. & Prof. Code §17200 et seq., as detailed

below.

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SECOND CAUSE OF ACTION /
(Violations of the Consumer Legal Remedies Act,
California Civil Code § 1750 ef seq.)

60. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

61. ‘This cause of action arises under the Consumers Legal Remedies Act (““CLRA”),
Cal. Civ. Code § 1750 ef seq. Plaintiff is a consumer as defined by Cal. Civ. Code § 1761(d).
Defendant's Seminars constitute "services" and/or "products" as defined by Cal. Civ. Code § 1761(a)
and (b). At all times relevant hereto, Defendant constituted a “person” as that term is defined in Cal.
Civ. Code § 1761(c), and Plaintiffs and class members’ purchases of Defendant's Seminars
constitute “transactions,” as that term is defined in Cal. Civ. Code § 1761(e).

62. Defendant violated and continues to violate the CLRA by engaging in the following
deceptive practices specifically proscribed by Cal. Civ. Code § 1770(a), in transactions with Plaintiff
and class members that were intended to result or which resulted in the sale or lease of goods or
services to consumers:

(a) In violation of Cal. Civ. Code § 1770(a)(5), Defendant's acts and practices
constitute misrepresentations that the Seminars in question have characteristics, benefits or uses
which they do not have;

(b) In violation of Cal. Civ. Code § 1770(a)(7), Defendant has misrepresented
that the Seminars are of particular standard, quality and/or grade, when they are of another;

(c) In violation of Cal. Civ. Code § 1770(a)(9), Defendant advertised the
Seminars with the intent not to sell them as advertised or represented; and

(d) In violation of Cal..Civ. Code § 1770(a)(10), Defendant advertised the
Seminars with intent to not supply reasonably expectable demand.

63. Defendant's uniform representations as set forth more fully elsewhere in this
Complaint were false, deceptive, and/or misleading and in violation of the CLRA.

64. Pursuant to Cal. Civ. Code § 1782, Plaintiff notified Defendant in writing by
certified mail of the particular violations of Cal. Civ. Code § 1770 alleged herein, andhas demanded

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that Defendant recti fy the problems associated with the actions detailed above and give notice to all
affected consumers of its intent to so act. Plaintiff sent this notice by certified mail, return receipt
requested, to Defendant's principal place of business.

65. If Defendant fails to rectify or agree to rectify the problems associated with the
actions detailed above and give notice to all affected consumers within 30 days after receipt of the
Civil Code § 1782 notice, Plaintiff will amend this Complaint to seek actual, punitive and statutory
damages and all other relief available to Plaintiff and the Class under Civil Code § 1780.

66. In addition, pursuant to Civil Code § 1780(a)(2), Plaintiffis entitled to, and therefore
seeks, a Court order enjoining the above-described wrongful acts and practices that violate Cal. Civ.
Code § 1770.

67. Plaintiff and the class are also entitled to recover attorneys’ fees, costs, expenses and
disbursements pursuant to Cal. Civ. Code §§ 1780 and 1781.

THIRD CAUSE OF ACTION
(Untrue and Misleading Advertising in Violation of
Cal. Bus. & Prof. Code § 17500 et seq.)

68. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

69. California Business & Professions Code § 17500 prohibits various deceptive
practices in connection with the dissemination in any manner of representations which are likely to
deceive members of the public to purchase products and services such as the Trump University
Seminars.

70. Defendant disseminated, through common advertising, untrue statements about its
Seminars and Defendant knew or should have known that the Seminars did not conform to the
advertisements representations reg arding the Seminars. Defendant intended consumers to rely upon
the advertisements and numerous material misrepresentations as set forth more filly elsewhere in the
Complaint. Plaintiff and the Class relied upon the advertisements and misrepresentations to their

detriment.

 

 

 

 
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71. Asaresult of the foregoing, Plaintiff, and other Class members, and consumers are

entitled to injunctive and equitable relief and damages in an amount to be proven at trial.
FOURTH CAUSE OF ACTION
(Breach of Contract)

72. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein. |

73. Contracts exist between Plaintiff, class members and Trump University. Plaintiff
and Class members entered into agreements with Trump University for a three-day Seminar for
which they paid approximately $1,495. Plaintiff and some class members also entered into an
agreement with Trump University for the Trump Gold Program for which they paid about $34,995,
plus the variable APR finances charges, interest fees, and late fees they had topayto their credit card
companies. Attached hereto as Exhibit A is a true and correct copy ofa contract for the Trump Gold
Program.

74. Under Plaintiffs and each Class member's contracts, Plaintiff and the Class
members were only required to pay the amount of the Seminar in each Class member's contract.

75. All conditions precedent under the contracts have been performed by Plaintiff and
the Class, including the payment amount of the Seminars.

76. Trump University breached the terms ofits standardized contracts with Plaintiff and
the Class by failing to provide them with the promised products and services as contracted.

77. As aresult of Defendant's breach of its contracts, Plaintiff and the Class have been
damaged in an amount to be deterrmned at trial.

FIFTH CAUSE OF ACTION
(Breach of the Implied Covenant of Good Faith and Fair Dealing)

78. Plaintiff re-alleges and incorporates by reference the allegations contained in the

paragraphs above as if fully set forth herein.

79, The law implies a covenant of good faith and fair dealing in every contract. .

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80. | Defendant violated this covenant of good faith and fair dealing in its contract with
Plaintiff and members of the Class by, inter alia, misrepresenting to Plaintiff and the Class the true
nature of the Seminars as alleged more fully elsewhere in the Complaint.

81. Plaintiff and members of the Class performed all, or substantially all, of the
significant duties required under their agreements with Defendant.

82. The conditions required for Defendant's performance under the contract agreements
had occurred.

83. Defendant did not provide and/or unfairly interfered with the right of Plaintiff and
Class members to receive the benefits under their agreements with Defendant.

84. _ Plaintiff and the Class have been damaged by Defendant's breach of the implied
covenant of good faith and fair dealing in an amount to be proven at trial.

SIXTH CAUSE OF ACTION
(Money Had and Received)

85. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

86. Defendant improperly received and continues to improperly receive from Plaintiff
and class members millions of dollars as a result of the conduct alleged above.

87. As aresult, Plaintiff and the class have conferred a benefit on Defendant to which
Defendant is not entitled. Defendant has knowledge of this benefit, wrongfully and deceptively
obtained this benefit, and has voluntarily accepted and retained the benefit conferred on it.
Defendant will be unjustly enriched if it is allowed to retain such funds and, therefore, a constructive
trust should be imposed on all monies wrongfully obtained by Defendant and the money should be
disgorged from Defendant, and returned to Plaintiff and the class.

SEVENTH CAUSE OF ACTION
(Negligent Misrepresentation)
88. Plaintiff re-alleges and incorporates by reference the allegations contained in the

paragraphs above as if fully set forth herein.

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89, As alleged herein, Trump falsely represented to Plaintiff and members of the Class
that they would receive a “complete real estate education,” a “one year apprenticeship,” one-on-one
mentorship, practical real estate techniques and contracts, a “power team” of real estate agents,
lenders, personal finance managers, property managers and contractors, and were assured that
although the seminars were costly, they would make the money back in their first real estate deal,
and could make up to tens of thousands of dollars per month or more.

90. Instead of a complete real estate education, students merely received an
“infomercial” pushing additional seminars or workshops they were told they would need to take to
succeed. The “one year apprenticeship” they were promised was actually just a 3-day seminar; the
one-on-one year-long mentorship consisted of no practical insights and no mentorship, but rather
excursions to Home Depot and “mentors” who either recommend real estate deals that they stand to
benefit from financially, raising a conflict of interest, or immediately disappeared and failed to return
calls.

91. Trump University representatives also told students during the 3-day seminar to
raise their credit card limits 2-4 times during the break for “real estate transactions,” and had
students prepare detailed financial statements, presumably for real estate purchases, when in fact,
Trump’s real reason for this was to assess how much money each student had to spend on the next
Trump seminar, and to persuade the students to use their increased credit limit to purchase the
Trump Gold Program for $34,995. |

92. Trump's misrepresentations were supplied for the purpose of affecting Plaintiffs and

Class members’ financial decisions.

93. Trump had no reasonable grounds for believing that its misrepresentations were true.

94, Trump failed to exercise reasonable care and/or diligence in communicating its .
misrepresentations.

95. Trump’s misrepresentations were objectively material to the reasonable consumer,

and therefore reliance upon such representations may be presumed as a matter of law.
96. Trump intended that Plaintiff and members of the Class would rely on its

musrepresentations.

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CLASS ACTION COMPLAINT

 

 

 
 

 

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Ll. 97, Plaintiff and members of the Class reasonably and justifiably relied to their -

2 detriment on Trump's misrepresentations. |

3 98. Asa proximate result of Trump's misrepresentations, Plaintiffand members of the

4 || Class were damaged in an amount to be proven at trial.

5 99. Trump directly benefited from, and was unjustly enriched by, its misrepresentations.

6 EIGHTH CAUSE OF ACTION

7 (Fraud)

8 100. Plaintiff re-alleges and incorporates by reference the allegations contained in the

9 || paragraphs above as if fully set forth herein.
10 101. | Asalleged herein, Trump has intentionally and falsely represented to Plaintiffand
11 || members of the Class that they would receive a “complete real estate education,” a “one year
12 || apprenticeship,” one-on-one mentorship, practical real estate techniques and contracts, a “power
13 || team” of real estate agents, lenders, personal finance managers, property managers and contractors,
14 || and were assured that although the seminars were costly, they would make the money back in their
15 || first real estate deal, and could make up to tens of thousands of dollars per month or more.
16 102. ‘Instead of a complete real estate education, students merely received an
17 || “infomercial” pushing additional seminars or workshops they were told they would need to take to
18 || succeed. The “one year apprenticeship” they were promised was actually just a 3-day seminar, the
19 |] one-on-one year-long mentorship consisted of no practical insights and no mentorship, but rather
20 || excursions to Home Depot and “mentors” who either recommend real estate deals that they stand to
21 || benefit from financially, raising a conflict ofinterest, or immediately disappeared and failed toreturn
22 || calls. Trump's representations were false and Trump knew the representations were false when it
23 || made them, or made the representations recklessly and without regard for its truth.
24 103. | Trump University representatives also told students during the 3-day seminar to
25 ||raise their credit card limits 2-4 times during the break for “real estate transactions,” and had
26 || students prepare detailed financial statements, presumably for real estate purchases, when in fact,
27 || Trump’s real reason for this was to assess how much money each student had to spend on the next
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CLASS ACTION COMPLAINT

 

 

 

 
 

 

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Trump seminar, and to persuade the students to use their increased credit limit to purchase the
Trump Gold Program for $34,995.

104. | Trump intended that Plaintiff and the members of the Class rely on the
representations.

105. Plaintiff and members of the Class reasonably and justifiably relied to their
detriment on Trump's misrepresentations.

106. | Asaproximate result of Trump's misrepresentations, Plaintiff and members of the
Class were damaged in an amount to be proven at tial.

107. Plaintiff and members of the Class’ reliance on Trump’s representations were a
substantial factor in causing their harm.

NINTH CAUSE OF ACTION
(False Promise)

108. Plaintiff re-alleges and incorporates by reference the allegations contained in the
paragraphs above as if fully set forth herein.

109. As alleged herein, Trump made a number of promises to Plaintiff and members of
the Class, which were important to Plaintiff and members of Class’ decision to purchase Trump’s
Seminars.

110. | Trump did not intend to perform these promises when it made them.

111. Trump intended that Plaintiff and members of Class rely on these promises and
Plaintiff and members of Class did reasonably rely on Trump’s promises. |

112. Trump did not perform any of the promised acts.

113. As a proximate result of Trump's failure to act on its promises, Plaintiff and
members of the Class were damaged in an amount to be proven at trial.

114. Plaintiffand members of the Class’ reliance on Trump’s promises were a substantial
factor in causing their harm.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays this Court enter a judgment against Trump University that:

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A. This action be certified and maintained as a class action under Rule 23(b)(2)-and
(b)(3) of the Federal Rules of Civil Procedure and certify the proposed class as defined, appointing
Plaintiff as representative of the Class, and appointing the attorneys and law firms representing
Plaintiff as counsel for the Class; |

B. Awards compensatory, statutory and/or punitive damages for Defendant’s breach of
contract, breach of the implied covenant of good faith and fair dealing, fraud, negligent
misrepresentation and false promises, where such relief is permitted,

C. Awards Plaintiff and proposed class members the costs of this action, including
reasonable attorneys’ fees and expenses;

D. Orders Trump University to immediately cease its wrongful conduct as set forth
above; enjoins Trump University from continuing to falsely market and advertise, conceal matenal
information, and conduct business via the unlawful and unfair business acts and practices
complained of herein; orders Trump University to engage in a corrective notice campaign, and
requires Trump University to refund to Plaintiff and all of the class members the funds paid to
Defendant for the subject Programs;

E. Awards equitable monetary relief, including restitution and disgorgement of all ill-
gotten gains, and the imposition ofa constructive trust upon, or otherwise restricting the proceeds of

Defendant’s ill-gotten gains, to ensure that Plaintiff and proposed class members have an effective

remedy,
_F. Awards pre-judgment and post-judgment interest at the legal rate, and
G. Such further legal and equitable relief as this Court may deem just and proper.

 

 
 

 

 

 

 

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EXHIBIT A

 
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(b)  Couny-of Residence of First Listed Plaintiff Orange County

(EXCEPT IN US. PLAINTIFF CASES)

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Attorneys (If Known)
ZELDES & HAEGGQUIST, LLP, 625 Broadway, Suite.906, San

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Court Nama: USDC California Southern
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Transaction Date: 04/30/2010

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‘CIVIL FILING FEE
For: MAKAEFF V TRUMP UNIVERSITY
Case/Party : D~CAS-3-10-CV-000940-001
Amount : $350 .00

CHECK

~ Check/Money Order Num: 6019
Amt Tendered: $350.00

 

 

Total Due: $350 .00
Total Tendered: $350.00
‘Change Amt: $0.00

There will be a fee of $45.00
charged for any returned check .

 
